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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   LAPACA JEFFERSON,

        Plaintiff,

   v.                                            No. 4:21-cv-1141-P

   AARON DEAN, ET AL.,

        Defendants.

                           FINAL JUDGMENT
     This Final Judgment is issued pursuant to Federal Rule of Civil
  Procedure 58. Per the Order entered on November 1, 2021 (ECF No. 5):

        It is ORDERED, ADJUDGED, and DECREED that this civil
  action is DISMISSED with prejudice. The Clerk is DIRECTED to
  transmit a true copy of this Final Judgment to the Parties.

        SO ORDERED on this 1st day of November, 2021.




                     Mark T. Pittman
                     UNITED STATES DISTRICT JUDGE
